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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                      :

        -v.-                                                  :      S5 12 Cr. 868 (NRB)

LENA LASHER,                                                  :
 a/k/a “Lena Congtang,”
 a/k/k “Lena Contang,”                                        :

                                  Defendant.                  :

---------------------------------------------------------------x




        THE GOVERNMENT’S MOTION IN LIMINE WITH RESPECT TO A LAY
                     WITNESS’S CRIMINAL HISTORY




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 a/k/a “Lena Congtang,”
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        THE GOVERNMENT’S MOTION IN LIMINE WITH RESPECT TO A LAY
                     WITNESS’S CRIMINAL HISTORY

        The Government respectfully files this motion in limine with respect to a potential lay

witness’s criminal history.

                                                 DISCUSSION

I.      THE DEFENDANT SHOULD BE NOT BE PERMITTED TO CROSS EXAMINE
        A LAY WITNESS REGARDING CERTAIN JUVENILE CONDUCT OR A
        PENDING CHARGE

        A.       Applicable Law

                 1) Rule 609

        Rule 609 of the Federal Rules of Evidence sets forth the rubric for impeachment by

evidence of a criminal conviction.

        With respect to a conviction within the last ten years (or a conviction resulting in

confinement within the past ten years), it (1) may be admitted to “attack a witness’s character for

truthfulness” if the crime was punishable by more than one year’s imprisonment, and the

admission is not barred by Federal Rule of Evidence 403; and (2) must be admitted for this

purpose “for any crime regardless of the punishment . . . if the court can readily determine that
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establishing the elements of the crime required proving—or the witness’s admitting—a dishonest

act or false statement.” Fed. R. Evid. 609(a). The party “desiring to take advantage of

automatic admission of a conviction under the second prong must demonstrate to the court that a

particular prior conviction rested on facts warranting the dishonesty or false statement

description.” United States v. Hayes, 553 F.2d 824, 827 (2d Cir. 1977) (internal quotation marks

omitted).

          With respect to an older conviction, it is admissible only if: “(1) its probative value,

supported by specific facts and circumstances, substantially outweighs its prejudicial effect; and

(2) the proponent gives an adverse party written notice of the intent to use it so that the party has

a fair opportunity to contest its use.” Fed. R. Evid. 609(b).

          With respect to a juvenile adjudication, a conviction is admissible only if (1) “an adult’s

conviction for that offense would be admissible to attack the adult’s credibility”; and (2)

“admitting the evidence is necessary to fairly determine guilt or innocence.” Fed R. Evid.

609(d).

                 2) Rule 608

          Rule 608(b) of the Federal Rules of Evidence sets for the rubric for impeachment by

evidence of specific instances of past conduct. The rule provides that such instances may be

inquired into on cross-examination “if they are probative of the character for truthfulness or

untruthfulness of: (1) the witness; or (2) another witness whose character the witness being

cross-examined has testified about.” Fed. R. Evid. 608(b). However, the rule precludes the

admission of extrinsic evidence to prove specific instances of a witness’s conduct in order to

attack the witness’s character for truthfulness. Id.

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               3) Rules 611 and 403

        Rule 611 of the Federal Rules of Evidence states that that a court should “protect

witnesses from harassment or undue embarrassment,” and that cross-examination “should not go

beyond the subject matter of the direct examination and matters affecting the witness’s

credibility.” Fed. R. Evid. 611.

        Evidence, including testimony sought to be elicited on cross-examination, generally must

also satisfy Rule 403 of the Federal Rules of Evidence, which provides that a court may exclude

evidence “if its probative value is substantially outweighed by a danger of one or more of the

following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

        B.     Witness Criminal History

        Yesterday, the Government met with a lay witness (“Witness-2”) who the Government

presently intends to call at trial. From review of Witness-2’s criminal history record (commonly

referred to as a “rap sheet”), the Government has learned of the following criminal history of

Witness-2 in the Commonwealth of Pennsylvania: 1

    •   In May 2004, when Witness-2 was a minor, Witness-2 was charged with theft and receipt

        of stolen property. Witness-2 was “not adjudicated delinquent,” which the Government

        understands to be the equivalent of a finding of not guilty or a dismissal.



1
        In an abundance of caution, the Government facilitated Witness-2 obtaining counsel after
meeting Witness-2, and intends to question Witness-2 regarding his or her prior conduct once
that counsel has conferred with Witness-2. Pursuant to Giglio v. United States, 405 U.S. 150,
154 (1972), and its progeny, the Government is providing to the defendant today Witness-2’s
criminal history record. The Government has previously provided 3500 material to the
defendant with respect to Witness-2.
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    •   In July 2005, when Witness-2 was a minor, Witness-2 was charged with theft, receipt of

        stolen property, making an unsworn falsification, and making a false report to law

        enforcement. Witness-2 was “adjudicated delinquent” with respect to the first two of

        these charges (theft and receipt of stolen property), both misdemeanors.

    •   In December 2005, when Witness-2 was a minor, Witness-2 was charged with burglary

        and trespassing. 2 Witness-2 was “adjudicated delinquent” of trespassing, a misdemeanor.

    •   In September 2012, Witness-2, now an adult, was charged with retail theft. Witness-2

        pleaded guilty and paid a fine. 3

    •   In March 2015, Witness-2 was charged with retail theft. This charge is pending.

        C.     Discussion

        Based on present information, the defendant should be precluded from cross-examining

Witness-2 regarding Witness-2’s criminal history, to the extent set forth below.

        May 2004 Charges

        These juvenile charges did not result in a conviction. Nor should the defendant be

permitted to cross-examine Witness-2 concerning the facts underlying Witness-2 being charged

with theft and receipt of stolen property at that time. Such offenses—even assuming that the

Witness-2 committed them, contrary to their disposition—do not necessarily involve conduct

probative of truthfulness. Even if the alleged conduct here did, cross-examination should be




2
       It appears that Witness-2 may have been charged initially with multiple counts, and
subsequently was charged with one count of each offense.
3
        It appears, under 18 Pa. Cons. Stat. § 3929(b), that this offense was a misdemeanor.
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precluded under Rule 403, because the events at issue occurred more than a decade ago, when

Witness-2 was a minor.

       July 2005 Charges

       These juvenile charges resulted in an adjudication of delinquency with respect to theft

and receipt of stolen property. While such a juvenile adjudication is not itself admissible, see

Fed R. Evid. 609(d), based on present information, the Government does not object to the

defendant cross-examining Witness-2 pursuant to Rule 608(b) regarding the events that led to

these charges, in light of Witness-2 being originally charged also with making an unsworn

falsification and making a false report to law enforcement.

       December 2005 Charges

       These juvenile charges resulted in an adjudication of delinquency with respect to

trespassing. Such a juvenile adjudication is not admissible. See Fed R. Evid. 609(d). Nor

should the defendant be permitted to cross-examine Witness-2 regarding the underlying events,

which occurred more than a decade ago, when Witness-2 was a minor.

       September 2012 Charge

       This charge resulted in a misdemeanor conviction for retail theft. While the Government

submits that this conviction may not otherwise be admissible, see Fed. R. Evid. 609(a) and

608(b), to the extent the Court precludes cross-examination of the defendant’s pending charge

for the same offense—as requested below—the Government does not object to cross-

examination regarding this conviction.




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        Pending Charge

        As discussed above, last month, Witness-2 was charged with retail theft. Cross-

examination concerning this pending charge should be precluded.

        The mere existence of a witness’s arrest or charge is not a specific instance of conduct

that is the subject of permissible cross-examination under Rule 608(b). “Arrest without more

does not . . . impeach the integrity or impair the credibility of a witness. It happens to the

innocent as well as the guilty. Only a conviction, therefore, may be inquired about to undermine

the trustworthiness of a witness.” Michelson v. United States, 335 U.S. 469, 482 (1948); see also

Daniels v. Loizzo, 986 F. Supp. 245, 252 (S.D.N.Y. 1997) (quoting Michelson and excluding

evidence of a plaintiff’s arrests that did not result in convictions); Kelly v. Fisher, No. 86 Civ.

1691, 1987 WL 16593, at *2 (S.D.N.Y. Sept. 2, 1987) (same). In appropriate cases, a court may

allow inquiry into an arrest for a crime that, if committed, necessarily would be probative of the

witness’s character for truthfulness, despite the fact that the arrest did not result in a conviction.

However, the pending charge here is not such a charge.

        Moreover, because the charge is pending, questioning regarding it is not the equivalent of

asking a witness whether he or she committed a crime charged in the past, which did not result in

a conviction. Rather, to allow the defendant to inquire about the underlying conduct of a

pending charge would lead to Witness-2 invoking his or her Fifth Amendment right not to

incriminate himself or herself with respect to this charge. If Witness-2 were to do so (and

Witness-2’s counsel has informed the Government that he expects that is what Witness-2 would

do) the jury would, at best, be left only with the fact that Witness-2 has been charged, leading to

speculation about the very things Witness-2 could not discuss—whether Witness-2 committed

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the offense, if so, the nature of the offense, and why Witness-2 committed it. To blunt the

impact of that speculation, the Government believes that it would be entitled to seek to introduce

what retail theft means as a matter of Pennsylvania law, and what it does not, and possibly to

seek to introduce evidence concerning the context of the charge itself. There is no reason to

proceed down such a path where the charge itself does not indicate a lack of truthfulness. See

United States v. Belk, No. 01 Cr. 180, 2002 WL 342585, at *4 (S.D.N.Y. March 4, 2002)

(preluding cross examination regarding pending allegations; explaining that “[t]o provide the

jury with information sufficient to weigh fairly the significance of the charge would delay the

trial needlessly and distract the attention of the jury from the issues that are central to the

criminal charges in this case”).

        In any event, questioning Witness-2 with respect to a pending charge—even if otherwise

permissible—should be precluded both to “protect [the] witness[ ] from harassment or undue

embarrassment,” Fed. R. Evid. 611(a), and because any probative value from such questioning

would be substantially outweighed by its prejudicial effect and by the risks of confusion, delay,

and the wasting of time against which Rule 403 protects. This is particularly true because, as

discussed above, the Government does not object to the defendant questioning Witness-2 about

the events underlying Witness-2’s July 2005 charges, nor, if its motion is granted, does the

Government object to the defendant questioning Witness-2 concerning Witness-2’s conviction

for retail theft in September 2012—a conviction that the Government submits may not otherwise

be admissible. The jury neither will be left with a material misimpression about Witness-2, nor

will it be left to speculate.



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                                     CONCLUSION

      For the foregoing reasons, Government’s motion in limine should be granted.

Dated: New York, New York
       May 1, 2015

                                          Respectfully submitted,

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                                   By:    s/ Daniel C. Richenthal
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